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In the United States District Court
for the Northern District of Illinois

United States of America, Case number 21 CR 618-4
Plaintiff,
Judge Pacold
v.
CHRISTOPHER THOMAS
Defendant.
CJA APPOINTMENT ORDER
ORDER APPOINTING COUNSEL UNDER CJA
Person represented Christopher Thomas Under seal? [|] Yes [HI] No
Defendant number 4 Representation type CC
Type of person represented Adult Court order ‘Appointing Counsel
Payment category Felony Name of Prior Attorney

Name of appointed attorney Ellen R. Domph

If associate(s) will be used, list names and rate(s) if different from the CJA hourly rate.

\Andhe WW. Cree 3 [o.Ja2.

Signature of Presiding Judge or by Order of the Court Date

Nunc Pro Tune Date: 1/31/2022 or [_] None

ORDER APPOINTING INTERPRETER UNDER CJA
Prior authorization shall be obtained for services in excess of $900.

Expected to exceed $900? [_] Yes [_] No
Prior authorization approved? [_] Yes [_.]No [_] Not applicable

Signature of Presiding Judge or by Order of the Court Date

Nunc Pro Tunc Date: or [_] None

Rev. 2212019
